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CLERK'S OFFICE U.S.
IN THE UNITED STATES DISTRICT COURT FOR THE: AT CHARLOTTESVILE, VA

FILER
WESTERN DISTRICT OF VIRGINIA
Charlottesville Division SEP 23 2094
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Elizabeth Sines, et al,

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[ BY:
Plaintiffs [
ve C Civil Action No. 3:17-cv-000
Jason Kessler, et al, C
Defendants E
[

DEFENDANT CHRISTOPHER CANTWELL'S
SEPTEMBER 22nd 2021 LETTER TO THE COURT

With some assistance I have submitted various motions and declarations
in recent weeks, seeking this Court's assistance in correcting
a series of wrongs which threaten to hinder the Court's efforts
to justly handle this matter. At the risk of offering some repetition,

I beg the Court's patience in this attempt to "tie i " using
thds-fermat, which is moré in tune with my talents." aly in’ using

Mycefforts to prepare for tria? have been crippled, and it is now

clear that I wil? not be ready to go to trial on October 25th,
.no matter what I do. Whatever blame may rightly be assigned to

me in this, it is beyond dispute that elements entirely beyond

my control have, in the last 18+ months, made my preparation

impossible.

Last week I asked Plaintiffs’ counsel, Michael Bloch, to send

me a printed copy of the Second Amended Complaint. He promptty
did so, and I was informed by:Case Manager Simpkins on Monday
September 20th that he had received the document, but. that there
was some debate among USP"Marion staff as to whether or not I
could have this document. He said "Let me see".

I asked again on Tuesday, and Mr. Simpkins again said "Let me
See."

Today, September 22nd, a Wednesday, I made copies of Judge Hoppe's
September 14th order denying my motion to enjoin the BOP. I underlined
the portton where he said "The Court requests the assistance

‘of staff at USP Marion in facilitating Cantwell's- participation
‘in pretrial proceedings in anticipation of trial and while he
is being transported to this District for trial.'"

I handed one copy to Case Manager Simpkins. I handed the other
copy to Intelligence Research Spectiatist: Kathy Hil] at mail call
today, which is about the only time I get to interact with either
of them on most days. Ms. Hil] promptly told me "We spoke to

our Tegal team, and we're not helping you with the civil case."

"I asked Ms. Hill if she would put this in writing, and she denied
the request. I asked Mr. simpkins for a “BP-8" which is a form
‘ used. do:the Prison's "Administrative Remedy" process to appeal

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staff decisions. The BP~8 is the “Informal” resolution, and ifs

this is unsuccessful, I can appeal that decision with a form

BP-9, Then I can file a BP-10. Then a BP-11. Only then is “Administrative
procedure exhausted" which is typically a prerequisite of an

inmate filing a lawsuit against the BOP.

Mr. Simpkins agreed to get me the form, then promptly JYeft the
unit without doing so.

On Wednesdays here at USP Marion, there is a ritual called the

"Walk Through” in which we Tock in our celis and senior staff
including the Warden tour the facility. I took this opportunity

to bring the Court's 9/14 order and Ms. Hill's quote to Mr. Sproul's
attention.

Mr. Sproul appeared to take a genuine interest in my problem,
and indicated he would see what he could do. I have no reason
to doubt his sincerity, personally, but my experience with the
Communications Management Unit, which I understand is far from
unique, is that they specialize in wasting time by dragging out
administrative procedure with little intent of actually solving.
problems. The aim appears to be privision of the illusion of
due process while making ail but certain that inmates realize
the futility and accept that they are powerless to do anything
to correct the injustices that are routinely imposed on them.

Given the October 25th trial date and the fact that I have to
be transported to Virginia before that date arrives, I obviously
do not have months to traverse this process.

To simply describe this as "unfair" would not do justice to the
situation, as it would fail to capture the bad faith and malice
which is clearty being exhibited. I have a stack of legal documents
in my cell several feet high. When the Plaintiffs send me documents
I do not request, they are delivered to me faster than the Wall
Street Journal. It was not until I requested the document because

I specifically needed it to prepare that this problem appeared.
Moreover, I am being singled out as a pro Se Defendant in a way

a representred Defendant would need not concern himself with.

Were I represented by Counsel, I would have the documents. I seek
delivered under Attorney Client Privilege, and the CMU staff

would not have the vaguest idea as to their contents.

The digital discovery the Plaintiffs have sent me was held for

more than three weeks before it was delivered to me by Case Manager
Simpkins. Doubtless a team of analysts have poured over this
material, much of which is covered by a Confidentiality order.

An order which, by the way, I also lack access to.

This Court-has the power to administer Justice in this case.

It also has the power to force me to trial on October 25th. Unfortunately,
the fact that Plaintiffs’ sent nearly all correspondence in this

case to my email address while I was incarcerated until April

of this year, and the subsequent actions of the US Government

beginning less than 3 weeks later, have made it impossibte for

the Court to do both.

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In my motion to be transported for trial, I specifically stated
that I did not want a continuance. In my prior motion to sanction
Plaintiffs for keeping me in the dark, I noted that I did not
want their conduct to result in them gaining more time to abuse
process in this matter. I have no interest in dragging this out.

Were it not for Plaintiffs’ "experts" on the "White Supremacy
Movement" I'd still be content to let this matter play out without
much participation from me. The last update I got from James
Kolenich before he moved to withdraw as Counsel was "They don't
have shit." That seemed a reasonable enough assessment, since

I am certain I did not participate in a criminal conspiracy,

and was smart enough to wear a body camera just in case the violent
criminals who assaulted me in 2017 turned out to be as dishonest

as they were violent. A good bet, it turned out.

But I only found out about these “experts" when I received the
Court's decision on my co-defendants! motion to exclude their
testimony. That decision came mere days before the conclusion
of discovery deadlines, and the moment the US Marshalls would
separate me from all of my papers and data to move me out of
the Strafford Department of Corrections.

My understanding of the “badges and incidents of slavery" central
to the Plaintiffs' claims is that, at the time of the law's passage,
“Negroes and Republicans" could not avail themselves of the law

in ways their KKK Democrat opponents could, hence necessitating
this decidedly alternative process. In 2017, my associates and

I applied for a permit to hold a demonstration, as we. had done
countless times before. Our permit was revoked, we sued, and

we won, as we had countless times before. We were threatened

with violence by the Plaintiffs' co-conspirators, as we had been
countless times before. But we relied on the police to keep us
separate, as we had countless times before, and were left with
little choice but to defend ourselves when the promised protection
failed to materialize.

Now, an army of Jewish lawyers with an 8 figure budget bully

us in court and defame us in the press and on social media platforms
we have all been banned from. The people who assaulted us on

camera brag about their crimes in public and have no fear of
prosecution. Most of us cannot afford lawyers, and those of us

who have representation, don't seem to be getting much for their
money.

To call this a reversal of the circumstances under which this

law was passed would not be accurate. At least then "Negroes

and Republicans" had enough power to get this law passed. We

dare not ask a public figure to say a word in our defense publicly,
lest-he risk losing his position and any capacity to help in

the future. Nobody who perpetuates something so outrageous as

this state of affairs can call themselves an advocate of tolerance,
peace, law, or order,

I beg the Court delay this trial, and act on the motions I have
recently submitted, and those I will be submitting. Specifically,
that the Court order USP Marion to stop obstructing my trial
preparation,

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Faiting this, I beg of you, Dear Reader, to take note of this
moment in our history. A moment when the President of the United
States says that "White Supremacy” is a greater threat to ourt
country than at Qeada and the Chinese Communist Party. It is

the same moment when it became de facto legal to assault someone
who dares to utter the words "White Lives Matter” at a permitted
demonstration, and these "White Supremacists" who are Supposedly
perpetuating "systemic racism" get thrown in prison and denied
access to the very documents accusing them of the crimes they
must answer for in Court. ,

"To find out who rules over you, simply find out who you are
not alftowed to criticize,"

Respectfully Submitted
Christopher Cantwell

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